                        Case 20-30647-lkg      Doc 50      Filed 10/20/20     Page 1 of 2

                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS
IN RE:                                          )                     In Proceedings
         Mary D VanAllman                       )                     Under Chapter 13
                                                )
                                                )
                                                )                     Bk. No: 20-30647
            Debtor(s)                           )

                   NOTICE OF FILING OF POST-PETITION CLAIM
TO ALL PARTIES IN INTEREST:

   NOTICE IS HEREBY GIVEN that the Trustee received a post-petition proof of claim filed by
WILMINGTON SAVINGS FUND SOCIETY FSB filed on October 15, 2020, (Court Claim No. 2). As
this claim is not addressed in the Debtor(s)' Plan, the Trustee shall not pay this claim nor shall he reserve
any monies for the payment of the same until the Debtor(s) file an Amended Plan to address the same.

   Accordingly, the Debtor(s) are hereby given notice that they must take the appropriate action(s) to
cure this deficiency and address the instant claim. Failure to do so may result in this claim not being
discharged.


   Respectfully submitted on this day, Tuesday, October 20, 2020.



                                                             /s/Russell C. Simon
                                                             RUSSELL C. SIMON
                                                             Chapter 13 Trustee
                                                             24 Bronze Pointe
                                                             Swansea, IL 62226
                                                             Telephone: (618) 277-0086
                                                             Telecopier: (618) 234-0124
                      Case 20-30647-lkg         Doc 50 Filed 10/20/20 Page 2 of 2
                                                Certificate of Service
   I hereby certify that a true and correct copy of the above and foregoing Notice of Filing of Post-Petition
Claim was served on the parties listed below by ordinary U.S. Mail (with the correct postage prepaid and
deposited in the U.S. Mail in Belleville, IL) or served electronically through the Court's ECF System at the
email address registered with the Court on this day, Tuesday, October 20, 2020.



                                                   /s/ Mary
Mary D VanAllman
13835 Johnson Rd
Fieldon, IL 62031

J. PHILLIP STEINMAN
100 HOMER ADAMS PARKWAY, STE 100
P. O. BOX 3292
ALTON, IL 62002

WILMINGTON SAVINGS FUND SOCIETY FSB
C/O FCI LENDER SERVICES
P. O. BOX 27370
ANAHEIM HILLS, CA 92809



AMIP MANAGEMENT LLC
3020 OLD RANCH PKWY STE 180
SEAL BEACH, CA 90740
